Case 3:09-cv-10999-WGY-HTS Document 1-2

NESTOR AMOROS, et al.,
Plaintiffs,
VS.

R.J. REYNOLDS TOBACCO CO.,
etc., et al.,

Defendants.

Filed 11/27/09 Page.1of 4 PagelD 5

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

Case Nos.
3:07-cv-760-J-25HTS,
3:07-cv-777-J-25JRK,
3:07-cv-784-J-32HTS,
3:07-cv-786-J-25HTS,
3:07-cv-788-J-25HTS,
3:07-cv-793-J-32MCR,
3:07-cv-795-J-32URK,
3:07-cv-797-J-25MCR,
3:07-cv-799-J-32MCR,
3:07-cv-801-J-25URK,
3:07-cv-803-J-25TEM,
3:07-cv-805-J-25TEM,
3:07-cv-818-J-32HTS,
3:07-cv-820-J-25MCR,
3:08-cv-150-J-25HTS,
3:08-cv-152-J-25HTS,
3:08-cv-154-J-25JRK,
3:08-cv-156-J-32JURK,
3:08-cv-158-J-32MCR,
3:08-cv-160-J-20HTS,
3:08-cv-162-J-25MCR,

3:08-cv-164-J-20JRK,

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All of the captioned cases are SET for a consolidated case management

3:07-cv-761-J-20TEM,
3:07-cv-778-J-32MCR,
3:07-cv-785-J-25MCR,
3:07-cv-787-J-32JRK,
3:07-cv-792-J-25MCR,
3:07-cv-794-J-32JRK,
3:07-cv-796-J-20HTS,
3:07-cv-798-J-25MCR
3:07-cv-800-J-20TEM,
3:07-cv-802-J-25HTS,
3:07-cv-804-J-20MCR,
3:07-cv-806-J-20HTS,
3:07-cv-819-J-32HTS,
3:08-cv-149-J-25JRK,
3:08-cv-151-J-20MCR,
3:08-cv-153-J-32TEM,
3:08-cv-155-J-32MCR,
3:08-cv-157-J-32MCR,
3:08-cv-159-J-16TEM,
3:08-cv-161-J-25MCR,
3:08-cv-163-J-32TEM,
3:08-cv-165-J-25TEM

conference on April 4, 2008 at 9:30 a.m. in the United States Courthouse in Jacksonville,

Florida, Courtroom 13A, before United States District Judges Schlesinger, Adams and
Corrigan.' The Court envisions that the conference will be preliminary in nature.
' The parties are advised that photo identification must be presented when entering the

Courthouse. Additionally, although cell phones and laptop computers may not usually be
brought into the building, upon presentation of a copy of this Order to Court Security

Case 3:09-cv-10999-WGY-HTS Document1-2 -Filed-41/27/09-Page 2 of 4 PagelD 6

No later than March 21, 2008, the parties shall file a “joint statement” listing the
issues they would like addressed at the hearing, including the items listed in Rule 16,
Federal Rules of Civil Procedure, as appropriate to the situation. While the joint
statement should address issues regarding all of the captioned cases, it should only be
filed in Case No. 3:07-cv-760-J-25HTS. If the parties are in disagreement regarding an
issue, each side's contention can be briefly stated; however, the Court does not envision
that extensive briefing on contested issues will be included in this joint filing. The parties’

joint statement should also address the following issues:

ll, Senior United States District Judge, is a party plaintiff in Case No. 3:08-cv-153-J-
32TEM. While Judge Moore has recused himself from all of these cases (or will do so),
and his case likely could be severed out and assigned to a judge who is not from the
Middle District, the parties’ should address whether Judge Moore’s status as a plaintiff
raises concerns about the ability of judges of the Middle District of Florida to participate
in these cases.

2. Do the parties know of other potential recusal/disqualification issues

presented by these cases? The parties should review all of the named plaintiffs and

defendants for recusal or disqualification issues. The parties should also review the law

Officers, counsel may bring those devices into the Courthouse for purposes of this hearing.
Cell phones must remain silent while court is in session.

2

1. It has come to the attention of the Court that the Honorable John H. Moore

firms involved (or to be involved) for recusal or disqualification issues.

3. Have the removed cases been properly removed?

4, Are the parties expecting any more cases to be filed in or removed to the
Jacksonville. Division of the Middle District of Florida?

5. Are there (or will there be) Engle-based cases filed in other Divisions of the
Middle District of Florida? If so, how many and which Division(s)?

6. Should each plaintiffs case be severed and handled individually? (The Court
is aware that the parties briefed this issue in at least one of the cases but that was before
the MDL Panel’s decision and before removal of additional cases.)

7. Have all defendants been served in all cases? What is the current status of
the pleadings in each case?

8. What are the parties’ proposals for addressing the unique and substantial
case management issues regarding these cases?

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DONE AND ORDERED at Jacksonville, Florida, this 2C day of February, 2008.

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HARVEY E. SCHLESINGER HENRY LAE ADAMS, ¥R. TIMOTHY J. COR
Sr. United States District Judge United Stats District Jgge United States Disty/ct fudge

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Copies to:

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